               Case 2:20-cv-00005-JCC Document 21 Filed 08/31/20 Page 1 of 1



1
2
3
4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT SEATTLE
6
7      ALEXANDER K FINLAN,
8
                                     Plaintiff (s),   CASE NO.
9                                                     2:20−cv−00005−JCC
                           v.
10                                                    CIVIL TRIAL SCHEDULING ORDER
       HERMAN MANUEL SEDILLO et al.,
11
12                                Defendant (s).

13     Pursuant to the parties' joint status report, the Court issues the following scheduling
     order. Case management dates are established as follows: 7 Day Estimate Jury Trial is set
14   for November 1, 2021 at 9:30 AM in Courtroom 16206 before U.S. District Judge John
     C. Coughenour. The proposed pretrial order is due by October 22, 2021. Trial briefs and
15   proposed voir dire/jury instructions are due by October 28, 2021. Pleading amendments
     and third−party actions are due by March 1, 2021. The 39.1 Mediation shall be
16   completed by June 21, 2021. The discovery cutoff is July 6, 2021, and the dispositive
     motion deadline is August 3, 2021.
17
       Jury instructions must be numbered sequentially. Counsel should submit two copies of
18   proposed jury instructions, one with citations and one without, and should send electronic
     copies of the instructions to the chambers orders inbox at
19   coughenourorders@wawd.uscourts.gov. Counsel are advised that the Court relies
     primarily upon the Ninth Circuit Manual for Model Jury Instructions to prepare final
20   instructions for submission to the jury.
21     Counsel are advised that this case is one of several cases set for the week described
     above. Counsel must be prepared to commence trial as scheduled but also be aware that
22   the trial may have to be continued. Counsel are directed to contact the Courtroom Deputy
     Clerk at gabriel_traber@wawd.uscourts.gov two to four weeks in advance of the trial
23   date to inquire about the Court's calendar.
24     Counsel must attend Courtroom Technology Training at least one month in advance of
     the trial to become familiar with the new A/V equipment now available in the courtroom.
25   Training is held at 3:00 PM on the 1st and 3rd Wednesday of each month.
26   DATED: August 31, 2020

     CIVIL TRIAL SCHEDULING ORDER − Page 1
